     Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 1 of 29 Page ID #:52

         Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 1 of 29

AO 440 (Rev. 06'121 Sunm1ons in aCiv.il Action


                                        UNITED STATES DISTRICT COURT
                                                             for the
                                                      District of Maryland


            FEDERAL TRADE COMMISSION                           )
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                             P/ainti/,(1.9                     )
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                                  v.                                   Civil Action No.
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                  ECOLOGICAL FOX, LLC,                         )
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                              ET AL.                           )
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                                                 SUMMONS IN A CIVIL ACTION

To: ID!!_Iendam·snameandaddress) Ecological Fox, LLC, 3 Church Circle, Suite 294, Annapolis, MD 21401




          A lawsuit has been tiled against you.

          Within 21 days after service of this summons on you (not counting the day you received it)-· or 60 days ifyou
are the United States or a United States agency, or an officer or employee of the United State~ described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule !2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plainti fT's attorney,
whose name and address are: JONATHAN COHEN. jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                 Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




       If you fail to respond, jt1dgment by default will be entered against you for the relief demar1ded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                    Sig11a111re o.fCI!!rk or D!!pu~v Clerk
      Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 2 of 29 Page ID #:53

          Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31118 Page 2 of 29


AO 440 (Rev. 06i l21 Sunun()n.< in u Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                        for the
                                                                 District of Maryland


             FEDERAL TRADE COMMISSION                                     )
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                                    v.                                            Civil Action No.
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                   ECOLOGICAL FOX, LLC,                                   )
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                                ET AL.                                    )
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                             Defendant{.\)                                )


                                                         SUMMONS IN A CIVIl. ACTION

To: (/)e.fendant 's r~am~t c.md addrl!ss) Luke Chadwick, 1828 Jamaica Rd ., Costa Mesa, CA 92626




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you reeeived it)- or 60 days if you
are the United States or a United States agency. or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney.
whose name and address are:                      JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                 Washington, DC 20580. Phone: (202) 326-2551, Facsimile: (202) 326-3197




        If you fail to respond, jud!,rrnent by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT


Date:
                                                                                               Signa fur(' of Clerk or Deputy Clerk
        Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 3 of 29 Page ID #:54

               Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 3 of 29


i\ 0   440   (R~v .   Oti!l2) Summons in a Civil Action


                                               UNITED STATES DISTRICT COURT
                                                                          for the
                                                                    District of Maryland


                      FEDERAL TRADE COMMISSION                               )
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                                     Plaint!U(s)                             )
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                                          v.                                        Civil Action No.
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                          ECOLOGICAL FOX, LLC ,                              )
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                                       ET AL.                                )
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                                                            SUMMONS IN A CIVIL ACTION

To:     rDt!fimdanl's •wme w1d addre.ysJ           Andris Pukke, 104 Kings Place, Newport Beach, CA 92663




               A lawsuit has been fded against you.

         Within 21 days atler service of this summons on you (not counting the day you received lt)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule J 2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                   Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                       c"'LERK OF COURT


Date:
                                                                                                 Signalr/1'1' (1( Clerk   or D t'puly Clerk
     Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 4 of 29 Page ID #:55

         Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 4 of 29


AO 440 {Rev. (lflll2) Summons in a Civil ACiinn


                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                             District of Maryland


             FEDERAL TRADE COMMISSION                                 )
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                                  v.                                          Civil Action No.
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                  ECOLOGICAL FOX, LLC,                                )
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                                                     SUMMONS IN A CIVIL ACTION

To: (!Je;(endant's name ami address; Peter Baker, 700 Lido Park Drive, Unil 32, Newport Beach, CA 92663-4414




          A lawsuit has been filed against you.

         Within 21 days alter service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the at1ached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. TI1e answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                             Washington, DC 20580, Phone: (202) 326·2551, Facsimile: (202) 326-3197




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
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          Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 5 of 29 Page ID #:56

               Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31118 Page 5 of 29
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    t\0 440 (Rev . 06i l2l   Sunm10n~   in a Civil Aclion


                                                UNITED STATES DISTRICT COURT
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                                                                 District of Maryland


                  FEDERAL TRADE COMMISSION                                )
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                                           v.                                     Civil Action No.
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                        ECOLOGICAL FOX, LLC ,                             )
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                                                            SUMMONS IN A CIVIL ACTION

    To; fDdl'ndanr ·s name nml nddre.vsJ Global Property Alliance, Inc. 3333 Michelson Drive, Suite 500, Irvine, CA 92612




               A lawsuit has been filed ugains! you.

             Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
    are the United Stales or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion tmder Rule 12 of
    the Federal Rules of Civil Procedme. 1l1e answer or motion must be served on the plaintiff or plaintiffs attorney,
    whose name and address are: JONATHAN COHEN , jcohen2@ftc.gov. 600 Pennsylvania Ave. NW, CC 9528,
                                     Washington, DC 20580, Phone: (202) 326-2551 , Facsimile: (202) 326-3197




            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                     CL1-J?K OF COURT


    Date:
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      Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 6 of 29 Page ID #:57

          Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 6 of 29


AO 440 (Rev . 06!1 2) Swnmo11.' in a Civil :\c1ion


                                           UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Maryland


              FEDERAL TRADE COMMISSION                                   )
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                   ECOLOGICAL FOX, LLC,                                  )
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                                                        SUMMONS IN A CIVIL ACTION

To: (f)eje.ndant'.~ nanw mul addres.1) Sittee River Wildlife Reserve, PO Box 130, Dangriga, Belize, Central America




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff nn answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must he served on the plaintitTor plaintiffs attorney,
who!:e name and address are:                    JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion wilh the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Siglla/1/l'e of Clerk or D<'f'IIIY Cit?rk
      Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 7 of 29 Page ID #:58

          Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 7 of 29


,\() 440 ( R~v. 06!12) Summons inn Civil i\ction


                                         UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Maryland


             FEDERAL TRADE COMMISSION                                    )
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                                   v.                                            Civil Action No.
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                   ECOLOGICAL FOX, LLC,                                  )
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                                                        SUMMONS IN A CIVIL ACTION

To: (f)efendant'.f 11ame andaddrt?ss) Buy Belize LLC. 3333 Michelson Drive, Suite 500, Irvine, CA 92612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United Stales described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of'
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                               Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




          If you fail to respond, judgment by default will be entered against you for the rei ief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or D<•pury Clerk
         Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 8 of 29 Page ID #:59

r                    Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 8 of 29


    AO 441) (Rev. 06!121 Sunum>ns in n Civil i'l<'lion


                                                                UNITED STATES DISTRICT COURT
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                                                                                     District of Maryland

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                                                          v.                                          Civil Ac1ion No.
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                                   ECOLOGICAL FOX, LLC,                                       )
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                                                                              SUMMONS IN A CIVIL ACTION

    To: (JJI!jimdant'.1·11wneandaddres.\) Buy International Inc., 3333 Michelson Drive, Suite 500, Irvine, CA 92612




                       A lawsuit has been filed against yot1.

             Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a mot.ion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney.
    whose name and address are:                                      JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                                     Washington, DC 20580 , Phone: (202) 326-2551, Facsimile: (202) 326-3197




            If you fail to respond, judgment by default will be emered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                                         CLERK OF COURT


    Date:
                                                                                                                   Sigll(rfure of Chwk m· Dept!~\' Clerk
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 9 of 29 Page ID #:60

             Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 9 of 29


AO 440      (R~v.   06/12) Summc''" in a Gvil Action


                                              UNITED STATES DISTRICT COURT
                                                                         for the
                                                                   District of Ma1yland


                    FEDERAL TRADE COMMISSION


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                                   l'laintijj(s)
                                        v.                                         Civil Action No.
                        ECOLOGICAL FOX, LLC,

                                    ET AL.




                                                           SUMMONS IN A CIVIL ACTION

To: Wefimdam 's name und flddres~) Foundation Development Management Inc., 3333 Michelson Drive, Suite 500, Irvine,
                                   CA 92612




              A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) ....._you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Pmcedurc. The answer or motion must be served on the plaintiff or plaintifl'"s attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                   Washington, DC 20580, Phone: (202)     326~2551,   Facsimile: (202) 326-3197




        If you fail to respond, judgment by default will be entered against y(JU for the relief demanded in the complaint.
Yotl also must file your answer or motion with the court.



                                                                                      CLERK OF COURT


Date:
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    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 10 of 29 Page ID #:61

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 10 of 29


AO 440 (Rev. 0(1!12) Summons in u Civil Action


                                            UNITED STATES DISTRICT COURT
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                                                                   District of Maryland


            FEDERAL TRADE COMMISSION
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                                   v.                                       )
                                                                                    Civil Action No.
                  ECOLOGICAL FOX, LLC ,                                     )
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                               ET AL.                                       )
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                           Defendcmt(s)                                     )


                                                           SUMMONS IN A CIVIL ACTION

To: rDefendant'sllameamladdresJ) Eco-Futures Development, 3333 Michelson Drive, Suite 500, Irvine, CA 92612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the, day you received it),_ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney.
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                  Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                       CLERK OF COURT


Date:
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        Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 11 of 29 Page ID #:62
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            Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 11 of 29


    AO 440 (Rev. 06!12) Summons in ll Civ1l A~·Lion


                                            UNITED STATES DISTRICT COURT
                                                                        for the
                                                                 District of Maryland


                 FEDERAL TRADE COMMISSION                                 )
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                                      v.                                          Civil Action No.
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                      ECOLOGICAL FOX, LLC,                                )
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                                                          SUMMONS IN A CIVIL ACTION

    To: tllt:(undam 's rmme and address) Eco-Futures Belize Limited, PO Box 260, Dangriga, Belize, Central America




              A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. I 2 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
    whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                 Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.


                                                                                     CLERK OF COURT


    Date:
                                                                                                Sig11a111re of Clerk or Deputy Clerk
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 12 of 29 Page ID #:63

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 12 of 29

AO 440 (Rev. 06!J2j Summons in u Civil   A~lil>n



                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of Maryland


            FEDERAL TRADE COMMISSION




                            PlaiiJiifJM
                                v.                                         Civil Action No.
                 ECOLOGICAL FOX, LLC,

                             ET AL.

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                                                   SU;'\1MONS lN A CJVIL ACTION

To : t!Je.fendmrr 's 11ame and addressj Power Haus Marketing, 3333 Michelson Drive, Suite 500 , Irvine, CA 92612




         A lawsuit .has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) -- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifl~s attomey,
whose name and address are:               JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave . NW, CC 9528,
                                          Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




        lfyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Sigrwture o(Cie1·k or Depwv Clerk
        Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 13 of 29 Page ID #:64



•           Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 13 of 29


    AO 440 (Rev. 06112) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District of Maryland


                FEDERAL TRADE COMMISSION
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                                     V.                                         Civil Action No.
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                     ECOLOGICAL FOX, LLC,                               )
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                                                        SUMMONS IN A CIVIL ACTION

    To: (/)<!.fendam ·s Jwme arrd addre.~s) Brandi Greenfield, 42 Arborside, Irvine, CA 92603-0111




             A lawsuit has been filed against you.

             Within 21 days after service ofthis summons on you (not counting the day you received it)- or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney.
    whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                               Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.


                                                                                   CLERK OF COURT


    Date:
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             Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 14 of 29 Page ID #:65

                Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 14 of 29
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    t\0 440 (Rl,V. 06112) Sumrnous in a Civil .Ac tion


                                                  UNITED STATES DISTRICT COURT
                                                                                for the
                                                                         District of Maryland

                    FEDERAL TRADE COMMISSION




                                     Plain tit]'(.•')
                                           v.                                             Civil Action No.
                          ECOLOGICAL FOX, LLC,

                                      ET AL.

                                   Defendrmr(.l')

                                                                 SUMMONS IN A CIVIL ACTION

    'l'o.:   (})~(('//dam's name and addres.1·)         BG Marketing LLC, 42 Arborside, Irvine, CA 92603




                  A lawsuit has been filed against you.

                  Within 21 days after service of this summons on you (not counting the day you received it)-- or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintitl's attorney,
    whose name and address are:                         JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                        Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




           lf you fail to respond, judgment by default will be entered against you tor the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                             CLE'RK OF COURT


    Date:
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    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 15 of 29 Page ID #:66

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 15 of 29


AO 440 (Rt.v 06!12) Summons in a Civil1\~tion


                                       UNITED STATES DISTRICT COURT
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                                                            District ofMnryland

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            FEDERAL TRADE COMMISSION
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                                 v.                                          Civil Action No.
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                  ECOLOGICAL FOX, LLC,                               )
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                             ET AL.                                   )
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                                                     StJMMONS IN A CIVIL ACTION

To: (Defendam·.l·nameandaddres.\) Prodigy Management Group LLC, 412 N. Main St., Suite 100, Buffalo, WY 82834




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it}- or 60 days ifyou
are the United States or a United States agency, or an officer or employee of the United Stales described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address arc: JONATHAN COHEN. jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                            Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




       If you fail lo respond, judgmeni by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Sljl;lllllllre   of Clerk or Depu~J' Clerk
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 16 of 29 Page ID #:67

         Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 16 of 29


AO 440 (Rev 06! 12) Summons in a Civil A<'li<ln


                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                                 District of Maryland


             FEDERAL TRADE COMMISSION




                             PIai ntiff(.l')
                                   v.                                             Civil Action No.

                  ECOLOGICAL FOX, LLC,

                               ETAL

                            Defemlanl(s)


                                                         SUMMONS IN A CIVIL ACTION

To: (lkjcndant 's 111111111 and addrtJss; John Usher
                                               6 'Y:1 Miles Stann Creek Valley Road, Hope Creek Village, Stann Creek District, Belize




          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
J>. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. ll1e answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                               Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                     CL£J?K OF COURT


Date:
                                                                                                Signafw·c (lj Clerk or Deputv Clerk
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 17 of 29 Page ID #:68

         Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 17 of 29

AO 440 (Rev . 06112) Swnmons in a C'ivil ,\ clion


                                         UNITED STATES DISTRICT COURT
                                                                for the
                                                         District of Maryland


             FEDERAL TRADE COMMISSION                             )
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                   ECOLOGICAL FOX, LLC,                           )
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                                                    SUMMONS IN A CIVIL ACTION

To: W eJelld1111t 's ll(mtu ml(/addres.t) Rod Kazazi, 3137 Corte Portofino, Newport Beach, CA 92660-3266




          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)· · or 60 days if you
arc the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. I 2 (a)(2) or (3)- you must serve on the plaintiff an answer to the allached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                  Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                        Sig11atwe of Clerk or Deputy Ci<<r~·
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 18 of 29 Page ID #:69

         Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31118 Page 18 of 29


Ml 440 (Rev . 06!12) Summons in u Civil Action


                                           UNITED STATES DISTRICT COURT
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                                                                District of Maryland


             FEDERAL TRADE COMMISSION
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                                     v.                                          Civil Action No.
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                                                         SUMMONS IN A CIVIL ACTION

To: rlkfimdallt:rnamcalldaddre.,·sJ Foundation Partners, 3333 Michelson Drive, Suite 500, Irvine, CA 92612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiJTan answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintitrs attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
Y 0\1 also must file your answer or motion witll the court.


                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Do:pnly Clerk
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 19 of 29 Page ID #:70

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 19 of 29

AO 440 (Rev. !16112) Summons inn Civil   A~tion



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                       District of Maryland


            FEDERAL TRADE COMMISSION                            )
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                            Plaintiff(.~)
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                                 v.                                     Civil Action No.
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                 ECOLOGICAL FOX, LLC ,                           )
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                                                  SUMMONS IN A CIVIL ACTION

To: rD4imdm1t's name cmd address) Frank Costanzo, 1953 Fairburn Avenue, Los Angeles, CA 90025-5911




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifl's attorney.
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave . NW, CC 9528,
                                 Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Sig•wlurc C!( Cierk or D<Jputy Clerk
         Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 20 of 29 Page ID #:71

             Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 20 of 29
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     AO 440 IKe,·. 01>!12) Summons inn Civil   t\~tion



                                           UNITED STATES DISTRICT COURT
                                                                    for the
                                                              District of Maryland


                 FEDERAL TRADE COMMISSION                              )
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                                      v.                                      Civil Action No.
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                       ECOLOGICAL FOX , LLC ,                          )
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                                                         SUMMONS TN A CIVIL ACTION

     To: mefcndam 's name and addmrsJ Belize Real Estate Affiliates LLC
                                      Hunkins Waterfront Plaza, Suite 556, Main Street, Nevis




               A lawsuit has been filed against you.

              Within 2 J days after service of this summons on you (not counting the day you received it)- or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney.
     whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                       Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
     You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


     Date:
                                                                                           Signatllre of Clerk   <JI '   Deputy Clerk
          Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 21 of 29 Page ID #:72
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              Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 21 of 29


      AO 440 (Re v. 06112) Summons in a Ci1•il Action


                                              UNITED STATES DISTRICT COURT
                                                                          for the
                                                                   District of Maryland


                  FEDERAL TRADE COMMISSION




                                   l'laiuti{((9
                                         v.                                         Civil Action No.
                        ECOLOGICAL FOX, LLC,

                                    ET AL.

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                                                           SUMMONS IN A CIVIL ACTlON

      To: IDejendam ·.~ 1/(1111<! and address) Exotic Investor LLC
                                                  c/o Tarsus Trust Company Limited, P.O. Box 11 , Main Street, Charlestown, Nevis




                A lawsuit has been filed against you.

               Within 21 days after service ofthis summons on you (not counting the day you received it)- or 60 days if you
      are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
      whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                  Washington, DC 20580, Phone: (202) 326-2551. Facsimile: (202) 326-3197




               If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      Yotl nlso must file your answer or motion with the court.



                                                                                      CLERK OF COURT


      Date:            -     ___ ____,


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      Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 22 of 29 Page ID #:73

         Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 22 of 29

AO 440 {Rev. ()(>.'12) Summons inn Civil :\<'t1on


                                           UNITED STATES DISTRICT COURT
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                                                                 District of Maryland

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             FEDERAL TRADE COMMISSION
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                                                         SUMMONS IN A CIVIL ACTION

To:   !De.ft'ndant'sJJmni'aJl(/address)         Southern Belize Realty LLC, Withfield Tower, 2nd Floor. 4792 Coney Drive,
                                                Belize City, Belize, Central America




           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. TI)e answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complain I.
Yotl also must file your answer or motion   with the court.



                                                                                      CLERK OF COURT


Date:
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    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 23 of 29 Page ID #:74

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 23 of 29


i\0 440 (Rev. (WI2) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                                                SUMMONS IN A CIVIL ACTION

To: tDcjimdaw 's 110111e and address) Sanctuary Belize Property Owners' Association, 337 Garden Oaks Blvd., #92706,
                                      Houston, TX 77018




          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. I 2 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                  Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court .



                                                                         CLERK OF COURT


Date:
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         Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 24 of 29 Page ID #:75
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             Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 24 of 29


    1\0 440 (Rev. 06/ 12) Summons in a Ci\·il Action


                                            UNITED STATES DISTRICT COURT
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                 FEDERAL TRADE COMMISSION                            )
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                       ECOLOGICAL FOX. LLC,                          )
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                                                       Sl!MMONS IN A CIVIL ACTION

    To: (D!!_(endalll'sllameandaddrc.ts/ Atlantic International Bank Ltd .. Withfield Tower, 2nd Floor, 4792 Coney Drive, Belize
                                         City, Belize, Central America




              A lawsuit has been filed against you.

             Within 2 J days atler service of this summons on you (not counting the day you received it)- or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or u motion under Rule J 2 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
    whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                      Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




              lf you fail to respond, judgment by defaull will be entered against you for the relief demanded in the complaint.
    You also must tile your answer or motion with the court.



                                                                                CLERK OF COURT


    Date:
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    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 25 of 29 Page ID #:76

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 25 of 29


AO 440 (Rev. O!ifl2)   SunmHlJl~ in~   Civil Aclion


                                           UNITED STATES DISTRICT COURT
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             FEDERAL TRADE COMMISSION                                )
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                                                      SUMMONS IN A CIVIL ACTION

To: (l)l'_(mdant 's naml! and address) Angela Chittenden, 104 Kings Place, Newport Beach, CA 92663




          A lawsuit has been tiled against you.

         Within 21 days after service of this summons on you (not counting the day you received it)~ or 60 days if you
are the United States or a United States agency, or an ofticer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney.
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                 Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
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    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 26 of 29 Page ID #:77

         Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 26 of 29


AO 440   fR~v.   06112) Sumrnous inn Civil Actinn


                                          UNITED STATES DISTRICT COURT
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                 FEDERAL TRADE COMMISSION
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                                                        SUMMONS IN A CIVIL ACTION

To: fDe.fcndam's name and addre.1~~J Beach Bunny Holdings LLC, 3333 Michelson Drive, Suite 500, Irvine, CA 92612




           A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you (not counting the day you received it)- or 60 days if you
are the United Slates or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. J2 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must he served on the plaintiff or plaintiffs attorney.
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW. CC 9528,
                                               Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                   CLERK OF COURT


Date:
                                                                                             Signo111te of Cfer/; or   Dep11~v   Clerk
                    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 27 of 29 Page ID #:78
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                        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 27 of 29


                AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                                      District of Maryland


                            FEDERAL TRADE COMMISSION




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                                                  v.                                   Civil Action No.
                                  ECOLOGICAL FOX, LLC,

                                              ET AL.




                                                                 SUMMONS IN A CIVIL ACTION

                To: rD~knda111 's name and addre.t~i The Estate of John Pukke, 104 Kings Place, Newport Beach, CA 92663




                          A lawsuit has been filed against you.

                         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
                are the United States or a United States agency, or an officer or employee of the United Stales described in Fed. R. Civ.
                P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintitT or plaintiff's attorney.
                whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave. NW, CC 9528,
                                                 Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




                        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
                You also must file your answer or motion with the court.



                                                                                          CLERK OF COURT


                Date:
                                                                                                    SigJUtlrlre nfC!el'k or Deputy Clak
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 28 of 29 Page ID #:79

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 28 of 29


AO 440 (Rev. 06!12) Summons in a Civil Avlion


                                     UNITED STATES DISTRICT COURT
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                                                      District of Maryland


            FEDERAL TRADE COMMISSION



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                                v.                                     Civil Action No.
                 ECOLOGICAL FOX, LLC,

                             ET AL.

                           Def{mdant(s)


                                                 SUMMONS IN A CIVIL ACTION

T o: (llejl:ndcmt'srwmeamloddressJ John Vipulis, 2857 Paradise Road, Unit 3104, Las Vegas, Nevada, 89109-9042




          A lawsuit has been filed against you .

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff~s attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov, 600 Pennsylvania Ave . NW, CC 9528,
                                 Washington, DC 20580, Phone: (202) 326-2551, Facsimile: (202) 326-3197




       If you fail to respond,judb1111ent by default will be entered against you for the relief demanded in the complaint.
You also must tile your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                    Signature of CltJrk or Depl/(1' Clerk
    Case 8:18-mc-00032 Document 1-3 Filed 11/29/18 Page 29 of 29 Page ID #:80

        Case 1:18-cv-03309-PJM *SEALED* Document 1-3 Filed 10/31/18 Page 29 of 29


AO 440 (Rev 06/l2) Summons in a Civil Actioll


                                      UNITED STATES DISTRICT COURT
                                                           for the
                                                     District of Maryland


            FEDERAL TRADE COMMISSION




                                v.                                   Civil Action No.
                 ECOLOGICAL FOX, LLC,

                             ET AL.

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                                                SUMMONS IN A CIVIL ACTION

To: mu.f<•ndmu ·.,. nanw and uddres.1) Deborah Connelly, 1953 Fairburn Avenue, Los Angeles. CA 90025·5911
      I




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on )'OU (not counting the day you received it)- or 60 days if you
are the United States or u United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintitT or plaintiffs attorney,
whose name and address are: JONATHAN COHEN, jcohen2@ftc.gov. 600 Pennsylvania Ave. NW, CC 9528,
                                 Washington, DC 20580, Phone: (202) 326·2551, Facsimile: (202) 326·3197




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT


Date:
                                                                                  Signalrm!   (!(Clerk or Deputy Clerk
